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              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                Plaintiff,                             4:11CR3101
     vs.
                                                         ORDER
JEANNA RENEE SPRINGER,
                Defendant.


     IT IS ORDERED that:

     1.    The plaintiff's unopposed motion to continue sentencing date
           (filing 137) is granted.

     2.    Defendant Jeanna Renee Springer’s sentencing is continued to
           Monday, October 29, 2012, at 10:30 a.m., before the undersigned
           United States District Judge, in Courtroom No. 1, Robert V.
           Denney United States Courthouse and Federal Building, 100
           Centennial Mall North, Lincoln, Nebraska. The defendant shall
           be present at the hearing.

     Dated this 13th day of September, 2012.

                                         BY THE COURT:



                                         John M. Gerrard
                                         United States District Judge
